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UNITED srirke DISTRICT COURT

for the

 

 

 

 

Northern District of Texas

 

 

 

 

 

 

 

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By. ~ :
De 1 / )
— nal ) Case No. 38-19MJ517-BH
Omer Kuzu 3:19-MJ-
)
a ) SEALED
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 2011 - June 2019 in the county of in the
Northern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2339B Conspiracy to Provide Material Support to a Designated Foreign Terrorist

Organization

This criminal complaint is based on these facts:

See attached Affidavit of SA Todd A. Bryan.

a Continued on the attached sheet.

ALE

_©Ofiplainant’ S signature

Todd A. Bryan, SA, FBI

Printed name and title

 

Sworn to before me and signed in my presence.

Date: June 5, 2019 Late eee

Judges signature

City andstate: Dallas, Texas IRMA CARRILLO RAMIREZ, U.S. Magistrate Judge

 

Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Special Agent Todd A. Bryan, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

Between in or around April 2011 and continuing until the filing of

this affidavit, in the Northern District of Texas and elsewhere, defendant

Omer Kuzu, a United States citizen, knowingly conspired with

Coconspirator 1, and others, to provide, and attempt to provide, material

support, to wit: personnel and resources, to a foreign terrorist organization

(“FTO”), that is, the Islamic State of Iraq and al-Sham (“ISIS”), a

designated FTO at all relevant times herein, knowing that the organization

was a designated terrorist organization and that the organization had

engaged in and was engaging in terrorist activity and terrorism, all in

violation of 18 U.S.C. § 2339B.

l. Tam a Special Agent with the Federal Bureau of Investigation (“FBI”) and
have been so employed since 2017. I am currently assigned to the International
Terrorism squad of the FBI Dallas field office. As a special agent with the FBI, my
duties include conducting investigations of potential violations of federal criminal laws.
During my tenure as an agent, I have participated in numerous investigations. Further, I
have received extensive training and experience in conducting terrorism investigations
and other federal law violations. I have participated in the execution of numerous federal
search warrants and arrest warrants in a variety of criminal investigations. Additionally,
prior to the joining the FBI, I served as an officer in the United States Air Force where I
spent the last three years of my military career on a joint task force focusing on counter
terrorism matters overseas.

Z. As discussed below, this affidavit is being submitted in support of a

criminal complaint and arrest warrant for Kuzu charging conspiracy to provide material

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support to the foreign terrorist organization (“FTO”) Islamic State of Iraq and al-Sham
(“ISIS”). I have personally participated in this investigation, and I am familiar with the
information contained in this affidavit.

3. Because this affidavit is submitted for the limited purpose of showing
probable cause to support the criminal complaint, I have not included every fact known
from the investigation, rather I have set forth only those facts that I believe are sufficient
to support a probable cause finding for the issuance of the requested complaint.

4. The facts set forth below are based upon my personal knowledge,
information communicated to me by other law enforcement officers and persons
cooperating with this investigation, interviews personally conducted by me as well as
others, and other relevant information gathered during the investigation.

5. Defendant Omer Kuzu (“Kuzu”) is a United States citizen by birth, having
been born in Dallas, Texas. Kuzu also has dual citizenship with Turkey based on his
parents’ Turkish citizenship. Kuzu resided in Plano, Texas, prior to his departure from
the United States. Kuzu and co-conspirator Coconspirator 1 departed the United States
for Istanbul, Turkey on October 16, 2014. As of the date of this affidavit, Kuzu has not
returned to the United States. Kuzu and Coconspirator 1 are brothers.

6. Coconspirator | is a United States Citizen by birth, having been born in
Dallas, Texas. Coconspirator | also has dual citizenship with Turkey based on his
parents’ Turkish citizenship. Coconspirator 1 resided in Plano, Texas, prior to his

departure from the United States. As stated above, Coconspirator 1 and Kuzu departed

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the United States for Istanbul, Turkey on October 16, 2014. As of the date of this
affidavit, Coconspirator 1 has not returned to the United States. .
Foreign Terrorist Organization Designation

7. On October 15, 2004, the U.S. Secretary of State designated al Qaeda
in Iraq (“AQI”), then known as Jam’at al Tawhid wa’al-Jihad, as a Foreign
Terrorist Organization (“FTO”) under Section 219 of the Immigration and
Nationality Act (the “INA”) and as a Specially Designated Global Terrorist under
section 1(b) of Executive Order 13224. On May 15, 2014, the Secretary of State
amended the designation of AQI as an FTO under Section 219 of the INA and asa
Specially Designated Global Terrorist entity under section 1(b) of Executive Order
13224 to add the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary
name. The Secretary also added the following aliases to the FTO listing: the
Islamic State of Iraq and al-Sham (i.e., “ISIS”—which is how the FTO will be
referenced herein), the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-
‘Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furgan Establishment for
Media Production. In an audio recording publicly released on June 29, 2014, ISIS
announced a formal change of its name to the Islamic State. On September 21,
2015, the Secretary added the following aliases to the FTO listing: Islamic State,

ISIL, and ISIS. To date, ISIS remains a designated FTO.

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Background

8. As will be detailed below, I have probable cause to believe that Omer
Kuzu, Coconspirator 1 and others known and unknown conspired together and with
others to provide material support to ISIS, a designated FTO. As set out in detail below,
Kuzu was detained by the Syrian Democratic Forces (“SDF”) in Syria and, on April 27,
2019, after having been advised of his Miranda rights, gave a detailed confession
describing his role in conspiracy involving himself, his brother, and other relatives, to
provide services and personnel (including themselves) to ISIS.

9. Kuzu and Coconspirator 1 were raised in the Dallas area and both resided
in the Dallas area until they departed the United States on or about October 16, 2014,
aboard a flight bound for Istanbul, Turkey. Coconspirator 1 and Kuzu have not returned
to the United States since their departure in October 2014, when they traveled abroad to
provide material support to ISIS.

Probable Cause

10. On April 9, 2011, Kuzu sent Coconspirator 1 an email. In the email, Kuzu

sent Coconspirator 1 a PDF copy of a book titled, “A Message to Every Youth.” The

book was authored by “the martyred Imam, Abdullah Azzam,” and was produced by At-

Tibyan Publications.!

 

' Abdullah Azzam was a Palestinian Sunni Islamic scholar, teacher and mentor of Osama bin Laden.
Azzam was also the co-founder of Hamas, Lashkar-e-Tayiba, and Makhtab al-Khidmat, the predecessor
to al-Qa'ida. At-Tibyan Publications was an online forum and discussion site which contained radical
Islamic and pro jihadist media, including videos, audio, and literature, with corresponding English
translations. “A Message to Every Youth” contained a collection of Azzam’s lectures that focused on the
book “al-Fawa'id,” written by 14th Century Sunni Islamic scholar Ibn al-Qayyim. Within these lectures,

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11, Omer’s email contained the following message to Coconspirator 1, “The
book is only 28 pages and it’s very important! So read it insha'Allah.?”

[2. On April 23, 2011, Kuzu emailed Coconspirator 1 a PDF copy of a book
titled, “The Tawhid of Action.” This book was also authored by Abdullah Azzam who is
referenced above. In “The Tawhid of Action,” Azzam states in part that jihad is the only
way in which one can truly understand tawhid (the “oneness of God”). Azzam explains
that living on the battlefield makes one realize that one must rely and trust fully in Allah
and that death will only come at that time which Allah has pre-ordained. In context, and
based on my training and experience, the term “jihad” in this context refers to violent
jihad.

13: Beginning in or about 2011, Kuzu, Coconspirator 1, and others exchanged
emails evidencing their shared interest in Sharia law, so-called martyrdom, the so-called
Islamic Caliphate, various Islamic extremist groups and the teachings of one of the
founders of al-Qaeda.

14. On July 31, 2011, Coconspirator 1 forwarded an email to a family member
that contained a link to a YouTube video titled, “Muslim Caliph PT. 01 [Part One].”? The
subject line of the email was “Awesome movie.” Coconspirator | stated in the email that
the movie is about the caliphate of our times and noted that it was good. The link to the

video no longer contains any video or audio content, although it appears to be part of a

 

Azzam focused on al-Qayyim's contention that all Muslims should be “following the right path and
preparing oneself to meet Allah.”
* “Caliph” is an Arabic word that refers to a Muslim ruler.

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multi-part series on the history of the so-called Islamic Caliphate rather than being about
ISIS itself.

he Between July 31, 2011 and August 5, 2011, Coconspirator 1 sent a family
member links to multiple videos of Islamic scholars delivering messages about the
Muslim faith, including three videos that contained messages from Abdullah Azzam.

16. On November 22, 2011, Coconspirator 1 sent a lengthy email to Kuzu
regarding the background and benefits of Sharia law.

i. On April 12, 2012, Coconspirator 1 emailed himself a screen capture of
the below black and white Islamic flag that has been used by ISIS and its predecessor, al-

Qaeda in Iraq (“AQT”):

met

 

18. On May 31, 2012, Coconspirator 1 sent Kuzu a screen capture of the
below Islamic flag that was used by the al-Qaeda-linked group known as the Caucasus

Emirate.

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19. On September 23, 2012, Omer, sent an email to Coconspirator 1 that
contained two attachments and the subject line, “What do u think?” The first attachment
contained a graphic consisting of an image of what appears to be a drop of blood above
the phrase, “THE BLOOD OF MARTYRS.” The second attachment contained a similar-
styled graphic with a single green feather above the phrase, “IN THE HEARTS OF

GREEN BIRDS.”

  

20. The same day, Coconspirator 1 responded by email and stated,

“EXXxxxxxxxellent....”

 

* Based on my training and experience, the phrase “In the Hearts of Green Birds” likely refers to a belief
that the souls of martyrs are carried in the hearts of green birds.

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21. On July 4, 2013, Coconspirator 1 sent his girlfriend, a Dallas-based United
States citizen, who later became his wife, an electronic copy of the book “Milestones” by
Syed Qutb Shaheed. Your affiant notes that, in “Milestones,” the author advocated for
the implementation of Sharia law, arguing that the Muslim community had been “extinct
for a few centuries” because those who called themselves Muslims had failed to follow
“the laws of God.” Through my training and experience, I know “Milestones” to be a
text frequently referenced by radical jihadists.

22. Beginning in about June 2014, approximately four months before Kuzu and
Coconspirator 1 departed the United States, Coconspirator 1 made numerous online
purchases, via Amazon, indicating his intent to enter an environment under austere
conditions.

23, On June 29, 2014, Abu Bakr al-Baghdadi, the leader of ISIS, announced
that the so-called Islamic Caliphate had been re-established.

24. On July 4, 2014, Kuzu emailed Coconspirator 1 a PDF copy of a book
titled, “A Day in the Life of Muhammad, A study in the Prophet’s Daily Programme,” by
Abd al-Wahhab b. Nasir al-Turayri. Your affiant notes that Muhammad Ibn Abd al-
Wahhab was a religious leader and theologian who founded the movement known as
Wahhabism.* .

25. On July 27, 2014, less than three months before Kuzu and Coconspirator 1

departed the United States, Kuzu forwarded an email to Coconspirator 1 concerning the

 

‘ Based on my training and experience, your Affiant understands that Wahhabi doctrine calls for strict compliance
with the Quran, emphasizes the oneness of God, and criticizes any belief, practice or custom that detracts from the
centrality and unity of God.

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interpretation of a verse from the Quran. Coconspirator 1 sent the same email to close
family members. The Quranic verse in question contrasted the majority of ungrateful
Muslims with the few thankful Muslims. Coconspirator 1 suggested in his email to his
family members that they should be like the few thankful Muslims and not the great
majority of ungrateful Muslims.

26. The FBI interviewed Coconspirator 1’s ex-wife (herein referred to as
Person 1). Person 1 stated that not long before Kuzu and Coconspirator 1 departed the
United States, Person 1, Coconspirator 1 and another couple (also family members) all
went to a shooting range to practice firing an AK-47 rifle that Coconspirator 1 had
purchased. Person | explained that prior to his departure, Coconspirator 1 obtained items
such as a water purifier, solar charger and other miscellaneous items consistent with those
needed for individuals spending extended time in austere environments.

2). On October 16, 2014, Coconspirator 1 and Kuzu departed the United
States on Turkish Airlines flight number 34, which departed from George Bush
Intercontinental Airport - Houston, Texas and arrived at the Istanbul Ataturk Airport.
Records reflect that Coconspirator 1 and Kuzu were scheduled to return to the United
States on October 22, 2014 via Turkish Airlines flight number 33, but failed to board.
The brothers have not returned to the United States.

28. Person | told the FBI that in December, 2014 she took a trip to meet
Coconspirator 1 in Turkey after he and Kuzu left the United States. Person 1 explained
that during this trip, Coconspirator 1 did not disclose the exact meeting location to her
until immediately before Person 1’s departure. Person 1 met Coconspirator 1 at a hotel in

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San Urfa, Turkey, on the Syrian/Turkey border. Person 1’s statements were corroborated
through hotel receipts contained in Person 1’s gmail account. Based on my training and
experience, I know San Urfa was, at the relevant time, a frequent border crossing for

foreign fighters joining ISIS in Syria.

 

 

 

 

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29, During the course of the investigation, records were obtained from both

Amazon and PayPal, Inc. regarding purchases by Coconspirator 1. A review of those
records shows in January 2015, approximately three months after Kuzu and
Coconspirator | arrived in Turkey, Coconspirator 1 purchased British Army camouflage
uniforms through Amazon’s website and had them shipped to Izmit, Turkey.
Specifically, on or about January 9, 2015, Coconspirator 1 used the website to purchase a
British Army camouflage uniform from a United Kingdom-based company that sells
military and outdoor clothing and equipment. The uniform consisted of a size large shirt
and trousers with a 34-inch waist. Coconspirator 1 paid for the uniform through a PayPal
account titled in his name. On or about January 12, 2015, an individual believed to be

either Kuzu or Coconspirator 1 used a PayPal account registered in the name of a close

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relative to purchase additional British Army camouflage uniform garments on the
Amazon website from the same United Kingdom-based retailer, including a uniform that
consisted of a size medium shirt and trousers with a 32-inch waist. This uniform was
also shipped to Izmit, Turkey.

30. Based on my training and experience, I know that Turkey, during the
relevant period, was a primary pathway used by foreign fighters traveling to join ISIS
forces in Syria. Coconspirator 1 and Kuzu had family residing in Izmit, Turkey at the

time the items were shipped to Izmit.

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Sl. Based upon my training and experience, I also know that a majority of ISIS
front-line soldiers fighting in Syria and Iraq wear camouflage military uniforms.
According to driver’s license records maintained by the Texas Department of Public
Safety, Coconspirator | is 6’1” tall and weighs 205 pounds, and Kuzu is 5’8” tall and
weighs 145 pounds. These physical measurements are consistent with the size of the
uniforms Coconspirator 1 ordered in January 2015. The purchase of these uniforms are
consistent with individuals who were preparing to join and fight on behalf of ISIS.

32. During the course of the investigation, Kuzu and Coconspirator 1’s father

was interviewed by the FBI. During the interview, Omer’s father said that Kuzu and

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Coconspirator 1 had not disclosed their plans to travel to Turkey in October 2014, before
they left the United States. He further advised that, after Kuzu and Coconspirator | left
the United States, Coconspirator | told him in a text message that he and Kuzu had gone
to help the three million Syrian refugees and Muslims. Omer’s father said he instructed
Coconspirator 1 and Kuzu to return to the United States, and warned that, if they did not
return voluntarily, their family would travel to Turkey to bring them back to the United
States. According to their father, Coconspirator 1 responded by telling his father that if
their family ever wanted to see or hear from him and Kuzu again, they would not attempt
to bring them back to the United States. Coconspirator 1 added that if any of his family
members attempted to bring Coconspirator 1 and Kuzu back to the United States by
force, Coconspirator 1 and Kuzu would cross into Syria.

33. Omer’s father advised the FBI that, while he was in Turkey in December
2014, Coconspirator 1 and Kuzu visited him at his home in Izmit, Turkey. During the
visit, Coconspirator 1 told his father that he had a dream that God instructed him to travel
to help the refugees and Muslims.° The last time that their father (or his wife) saw
Coconspirator | was at the airport in Turkey on February 1, 2015. According to their
father, he and his wife had tried to locate Kuzu and Coconspirator 1 via the Turkish
authorities, but their efforts were fruitless.

34, In March 2019, Kuzu was captured near the village of Dashisha, Syria, with

approximately 400 suspected ISIS fighters by the SDF.

 

° Based on the investigation, your Affiant concludes that this was a false information given as a cover story to
disguise the true object of the conspiracy.

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35, During a recent interview with FBI agents referenced below, Kuzu
explained that he worked in Syria with the ISIS telecommunications directorate.

36. As referenced above, Kuzu was captured in March 2019 by the SDF.
During his in-processing, Kuzu provided the name “Omar Khouzo” and a place of birth
as Turkey. Additionally, Kuzu provided a birthdate of January 1, 1996. According to the
information obtained in this investigation, your affiant knows Kuzu was born on
February 10, 1996, in Dallas, Texas. Your affiant believes Kuzu attempted to mask his
United States citizenship with the United States to avoid prosecution.

37. Below is a photo of Kuzu taken in April 2019, prior to his interview with
FBI agents in Syria. On the right is a copy of Kuzu’s driver’s license photo prior to his

departure.

 

38. On April 27, 2019, FBI Special Agents interviewed Kuzu while he was in
SDF custody. Prior to speaking with Kuzu, the agents provided Kuzu with his Miranda

rights, Kuzu waived his rights and agreed to speak with the agents. During the course of

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the interview, Kuzu provided the below information, which is set out in substance and in
part, and admitted that he had traveled abroad to fight with ISIS.

39. Kuzu stated that he and his older brother, Coconspirator 1, left Dallas,
Texas, in October 2014, to travel to Syria in order to join ISIS. According to Kuzu, he
and Coconspirator | lied to their parents at the time of their departure by telling them
they were going camping near Houston, Texas. Kuzu acknowledged that they traveled
via airplane from Houston, Texas, to Istanbul, Turkey. Kuzu explained they then
traveled via bus to Gaziantep, Turkey, and then on to Orfa, Turkey. Following their
arrival in Orfa, the brothers called a phone number from a hotel and an ISIS taxi came to
get them. They were then smuggled across the border into Syria, where the brothers
stayed at multiple “waiting houses” before eventually ending up in Mosul, Irag. Once
they got to Mosul, Kuzu stated that he received five days of physical and weapons
training from ISIS instructors with approximately forty other foreign fighters.

40. After the training in Mosul, the brothers were sent to Raqqah, Syria. Kuzu
then started work with the ISIS telecommunications directorate in January 2015. Kuzu
explained that shortly thereafter he pledged Bay’ah (allegiance) to Abu Bakr al-Baghdadi
and the Caliphate.

4]. After pledging Bay’ah to ISIS, Kuzu began receiving a $125 per month
stipend from ISIS and was given a Chinese-made AK-47 that he carried with him most of
the time, he claimed, due to fear of attack from coalition forces. Kuzu went by the kunya
Abu Shaymaa al-Turki. Further, after pledging Bay’ah, Kuzu was given additional rights
such as housing and the ability to take a wife. One of Kuzu’s additional tasks while

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working for the ISIS telecommunication center was to develop a secondary or a backup
communication method in and around Raqqah, Syria.

42. According to Kuzu, he married and took an ISIS bride. Kuzu explained
that he married an Algerian citizen who was 16 at the time of their marriage. Kuzu told
the agents that he and the woman had a child together. Kuzu explained to the agents that
he worked in the telecommunications center. . Kuzu explained that in addition to
working at the ISIS telecommunication center, Kuzu was sent to the “second line” behind
the front line to provide communications support for ISIS fighters. Kuzu said he would
help setup and repair radios for the frontline fighters. Kuzu indicated that he went to the
second line near Kobani, Syria and Hama, Syria.

43. Kuzu told the agents that as the Kurdish forces continued to get closer,
Kuzu fled with ISIS and he eventually ended up in Hajin, Syria. Kuzu said he was then
transferred to the caliphate’s technology center at Barakah. When the Kurdish forces got
within three kilometers of Hajin, Kuzu fled to Susah, and then to Baghouz in the
December 2018 to January 2019 timeframe. While in Baghouz, Kuzu stated that he just
tried to survive. Kuzu told the agents that the Abdul Nasser, an ISIS leader, rounded
everyone up by the mountain and told them to surrender. Kuzu claimed that he waited
for a truck and joined a group of other ISIS members who all subsequently surrendered to
the SDF.

44. Based on the foregoing, I respectfully submit that probable cause exists to
support a charge of 18 U.S.C. § 2339B (Conspiracy to Provide Material Support to a
Designated Foreign Terrorist Organization), and that the nature of this crime, combined

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with other facts and circumstances, further supports the issuance of a warrant by this
court for the arrest of Omer Kuzu.

45, As set out in a separate motion, the government respectfully moves for the
complaint, complaint affidavit, and arrest warrant to remain sealed—with the exception
that the complaint, complaint affidavit, and arrest warrant are unsealed for the limited
purpose of disclosing the existence of or disseminating the complaint, affidavit, and/or
arrest warrant to relevant United States, foreign, or intergovernmental authorities, at the
discretion of the United States and in connection with efforts to prosecute the defendant
or to secure the defendant’s arrest, extradition, or expulsion, or otherwise required for the
purposes of national security. These documents discuss an ongoing criminal
investigation that is neither public nor known to all of the targets of the investigation.
Accordingly, there is good cause to seal these documents, with the exceptions noted

above, because their premature disclosure may seriously jeopardize the investigation and

the apprehension of other targets of the investigation.
( L-—
DA BRYAN
Special Agent, FBI

Sworn before me, and subscribed in my presence on this § day of May, 2019

he LOA

United States Magistrate Judge
Northern District of Texas
Dallas, Texas

in Dallas, Texas.

 

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